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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION



 Versata Software, Inc. et al.,

              Plaintiffs,                      Case No. 15-10628-MFL-EAS
                                               (consolidated with Case No. 15-cv-11264)
 v.
                                               Hon. Matthew F. Leitman
 Ford Motor Company,

              Defendant.

                    STIPULATED BRIEFING SCHEDULE
                  AND ORDER CLARIFYING CASE STATUS


       The Court held a hearing in this matter via Zoom on Tuesday, May 16, 2023.

 During the hearing, the Court clarified that it did not intend its order (Dkt. 1054) on

 Ford’s Rule 50(b) motion for judgment as a matter of law (Dkt. 1030) to act as a

 final judgment and that the Court intends to resolve Versata’s outstanding motion

 for a permanent injunction or an ongoing royalty (Dkt. 1056) before entering any

 final judgment. The Court further requested that the parties submit an agreed briefing

 schedule on Versata’s pending injunction motion. On that motion, the parties hereby

 agree to the below briefing schedule:




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        Ford shall file a response to Versata’s motion by no later than June 8, 2023.

        Versata shall file a reply by no later than June 22, 2023.


       IT IS SO ORDERED.

                                       s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE

 Dated: May 31, 2023


 Stipulated and agreed this 30th day of May, 2023, by:

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  INC.




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